Case 18-31754-5-mcr            Doc 91      Filed 01/08/19 Entered 01/08/19 09:32:03             Desc Main
                                          Document      Page 1 of 6


 UNITED STATES BANKRUPTCY COURT                                 Hearing Date: January 11, 2019
 NORTHERN DISTRICT OF NEW YORK                                  Hearing Time: 11:00 a.m.
 --------------------------------------------------------       Hearing Location: Syracuse, New York

 In re:

 CENTERSTONE LINEN SERVICES, LLC,                               Case No. 18-31754 (Main Case)
 et al.,                                                        Chapter 11
                                     Debtor.
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          UNITED STATES TRUSTEE’S OBJECTION TO DEBTORS’
  MOTION FOR ORDER APPROVING BIDDING PROCEDURES IN CONNECTION
  WITH THE SALE OF SUBSTANTIALLY ALL OF DEBTORS’ ASSETS AND THE
  SALE OF ALL OF THE DEBTOR’S ASSETS OUTSIDE THE ORGINARY COUSE
    OF BUSINESS, FREE AND CLEAR OF ALL LIENS AND ENCUMBRANCES
                     AND OTHER RELATED RELIEF


 TO THE HONORABLE MARGARET CANGILOS-RUIZ, UNITED STATES BANKRUPTCY
 JUDGE:

          William K. Harrington, United States Trustee for Region 2 (the “United States Trustee”),

 in furtherance of his duties and responsibilities, set forth in 28 U.S.C. §§ 586(a)(3),(5), submits

 this objection to the motion by Centerstone Linen Services, LLC, et al., seeking, among other

 things, approval of bidding procedures in connection with the sale of substantially all of the

 Debtors’ assets and approval of a form of a certain asset purchase agreement and other related

 relief (hereinafter “Motion”). In support of this objection, the United States Trustee respectfully

 submits as follows:


                                                BACKGROUND

          1.       On December 19, 2018, (“Petition Date”), Centerstone Linen Services, LLC filed

 a voluntary chapter 11 petition for relief under Title 11 of the United States Code (the

 “Bankruptcy Code”).


                                                            1
Case 18-31754-5-mcr           Doc 91     Filed 01/08/19 Entered 01/08/19 09:32:03              Desc Main
                                        Document      Page 2 of 6


         2.        The Debtors continue to operate as a debtor in possession under Sections 1107(a)

 and 1108 of the Bankruptcy Code.

         3.        No committee of unsecured creditors (“Committee”) has been appointed at this

 time.

         4.        The Motion was filed on December 21, 2018 and seeks approval of the sale of

 substantially all of Debtors’ assets and approval of certain bidding procedures and other related

 relief, pursuant to a form Asset Purchase Agreement (“APA”).

         5.        Debtors seek approval of a bidding procedure at a hearing to be held on January

 11, 2019 and a sale of substantially all the assets on February 23, 2019. Inasmuch as the Motion

 addresses elements of both the bidding process and sale, the Objection herein addresses the

 Motion in its entirety.

                                       RELEVANT AUTHORITY

         6.        Section 363(b) of the Bankruptcy Code provides that a debtor-in-possession,

 “after notice and a hearing, may use, sell, or lease, other than in the ordinary course of business,

 property of the estate”. 11 U.S.C. § 363.

         7.        When a debtor seeks to sell substantially all of its assets outside of a plan of

 reorganization or liquidation, the Second Circuit requires that the decision to sell assets outside

 the ordinary course of business be based upon the sound business judgment of the debtor. See In

 re Chateaugay Corp., 973 F.2d 141 (2d Cir. 1992); Committee of Equity Security Holders v.

 Lionel Corp. (In re Lionel Corp.), 722 F.2d 1063, 1071 (2d Cir.); In re Martin, 91 F.3d 389, 395

 (3d Cir. 1996).




                                                     2
Case 18-31754-5-mcr        Doc 91     Filed 01/08/19 Entered 01/08/19 09:32:03              Desc Main
                                     Document      Page 3 of 6


        8.      As such, the court must find that the debtor has a “good business reason” to grant

 a sale under 11 U.S.C. § 363 outside the ordinary course of business. The relevant factors in

 consideration of such a request to sell assets include:

        [t]he proportionate value of the asset to the estate as a whole, the amount of
        elapsed time since the filing, the likelihood that a plan of reorganization will be
        proposed and confirmed in the near future, the effect of the proposed disposition
        on future plans of reorganization, the proceeds to be obtained from the disposition
        vis-a-vis any appraisals of the property, which of the alternatives of use, sale or
        lease the proposal envisions and, most importantly perhaps, whether the asset is
        increasing or decreasing in value.

        In re Lionel Corp., 722 F.2d 1063, 1071 (2d Cir. 1983).

        9.      The applicant bears the burden of demonstrating that the proposed sale will aid in

 the debtor’s reorganization and is supported by good business judgment. See In re Ionosphere

 Clubs, Inc., 100 B.R. 670, 677 (Bankr.S.D.N.Y.1989). Once the debtor has met this burden, a

 presumption arises that the decision was made on an informed basis, in good faith, and in the

 honest belief that the action was in the best interests of the debtor. See In re Residential Capital,

 LLC, et al., 2013 WL 3286198 (Bankr. S.D.N.Y. 2013) (quoting Bondholders v. Integrated Res.,

 Inc. (In re Integrated Res., Inc.), 147 B.R. 650, 656 (Bankr. S.D.N.Y. 1992)).

        10.     A sale of substantially all of a debtor’s assets outside of a plan must still provide

 creditors with the protections afforded under the Bankruptcy Code including adequate notice and

 information. See In re Naron & Wagner, Chartered, 88 B.R. 85, 87-90 (Bankr. D. Md. 1988)

 (citing Lionel Corp.). Where a Chapter 11 debtor is liquidating all or substantially all its assets

 without providing unsecured creditors with adequate information pursuant to 11 U.S.C. § 1125,

 unsecured creditors are not offered an opportunity to protect their interests through the Chapter

 11 voting and confirmation process. Id.




                                                   3
Case 18-31754-5-mcr         Doc 91     Filed 01/08/19 Entered 01/08/19 09:32:03             Desc Main
                                      Document      Page 4 of 6


                            The Bidding Procedures are Unreasonable

     11.   The Debtors propose a substantial stalking horse breakup fee to be paid to in the event

 that Purchaser is not the successful bidder at the relevant auction. Breakup fees should not be a

 windfall and should represent a reimbursement of costs and expenses incurred by the stalking

 horse in formulating its offer or in facilitating the bid process. In re Jon J. Peterson, Inc., 411

 B.R. 131 (Bankr. W.D.N.Y. 2009). The Court should only allow the breakup fee to the extent it

 serves the best interest of the estate and is otherwise fair. Id.

     12.    A 3% breakup fee in addition to an expense reimbursement of $200,000 is

 unreasonable. However, the terms of APA and Motion are inconsistent. The Motion indicates

 that the Purchaser would be entitled to both the breakup fee and the expense reimbursement.

 The APA, however, states that the Purchaser is entitled to up to a $200,000 expense

 reimbursement in the event of a breach by Debtors. The Debtors should clarify this discrepancy

     13.     In addition, the Motion fails to sufficiently define the terms of Debtors’ breach of the

 APA, including what constitutes a breach or the resulting events of a breach.

     14.    In the event the Court does approve breakup fees, in any amount, the United States

 Trustee objects to the payment of the breakup fees as outlined in paragraph 7.4 of the APA. This

 provision effectively creates a “superpriority” status to breakup fees against any and all assets of

 the Debtors, including carve-outs and bankruptcy claims. The United States Trustee submits that

 this provision should not be approved.

                                         No Benefit to the Estate

     15.    A sale that is solely for the benefit of secured creditors violates the underlying

 principles of the Bankruptcy Code. See, e.g., In re Lionel, 722 F.2d at 1071; In re Fremont

 Battery Co., 73 B.R. 277, 279 (Bankr. N.D. Ohio 1987).



                                                    4
Case 18-31754-5-mcr         Doc 91     Filed 01/08/19 Entered 01/08/19 09:32:03            Desc Main
                                      Document      Page 5 of 6


    16.      Indeed, the principal goal of the reorganization provisions of the Bankruptcy Code is

          to benefit all creditors of the Chapter 11 debtor by preserving going concern values and

          thereby enhancing the amounts recovered by all creditors. See In re Timbers of Inwood

          Forest Associates, Ltd., 808 F.2d 363, 373 (5th Cir. 1987), aff’d, 484 U.S. 365 (1988).

    17.      The senior secured creditor should not be the sole beneficiary of the sale. However,

          should this Court find that the sale satisfies the Second Circuit’s sound business judgment

          standard; the sale should provide both adequate funds through the use of cash collateral

          and DIP financing (if necessary) and a sufficient carve-out for payment for administrative

          expenses and professional fees through closure of the case and for general pre-petition

          unsecured creditors. Absent these provisions, the estate bears a significant burden to the

          detriment of unsecured creditors and risks absolute administrative insolvency.

                                        Reservation of Rights

    18.      The United States Trustee hereby reserves the right to supplement this Objection prior

          to the date of the sale hearing and to assert such other grounds as may become apparent

          upon further information.




                                                   5
Case 18-31754-5-mcr       Doc 91    Filed 01/08/19 Entered 01/08/19 09:32:03         Desc Main
                                   Document      Page 6 of 6


        WHEREFORE the United States Trustee requests that the Court deny the Motion,

 together with any other and further relief the Court may deem just and necessary.


 Dated: January 8, 2019
        Utica, New York
                                      Respectfully submitted,
                                      WILLIAM K. HARRINGTON
                                      UNITED STATES
                                      TRUSTEE FOR REGION 2

                                      By:    /s/ Guy A. Van Baalen
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